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                                                     September 10, 2019                      ALFA INTERNATIONAL
                                                                                              THE GLOBAL LEGAL NETWORK




        Honorable Petrese B. Tucker
        United States District Court, Eastern District of Pennsylvania
        U.S. Courthouse
        601 Market Street, Room 16613
        Philadelphia, PA 19106-1709

                     Re:     Coley v. Rumer, et al
                             Civil Action No. 18-1188
                             Our File No. 2710-214

        Dear Judge Tucker:

                 Please be advised that the parties have reached an agreement to submit the above-
        captioned matter to binding high-low arbitration. The Court can remove the matter from its trial
        list for trial beginning Monday, September 23, 2019.

                     I thank you for your attention in this regard.

                                                                 Respectfully yours,

                                                                 GERMAN, GALLAGHER & MURTAGH, P.C.


                                                                 BY: /s/ Chilton G. Goebel, III
                                                                         Chilton G. Goebel, III

        CGG/lg
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